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 5                         UNITED STATES DISTRICT COURT
                         EASTERN DISTRICT OF WASHINGTON
 6

 7    UNITED STATES OF AMERICA,
                                                    NO: 2:17-CR-0134-TOR-1
 8                              Plaintiff,              2:17-CR-0134-TOR-2

 9          v.
                                                    ORDER GRANTING DISCLOSURE
10    CRISTIAN GODINEZ, and                         AND PROTECTIVE ORDER
      FERNANDO MEDINA,
11
                                Defendants.
12

13         BEFORE THE COURT are the United States’ Motion for an Order to

14   Disclose Pre-Indictment Pleadings for Discovery but Not Unsealing and for

15   Protective Order and Motion to Expedite (ECF Nos. 52, 53). The motions were

16   submitted for consideration without oral argument. Having reviewed the motions

17   and the file herein, the Court is fully informed. In order to comply with its

18   discovery requirements while balancing the need to protect the integrity of the on-

19   going investigation and alleviate safety concerns, the government seeks to disclose

20   certain pre-indictment pleadings to Defendant but keep them sealed from public


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 1   access and to enter into a protective order that will govern the dissemination of

 2   such pleadings. For good cause shown, the United States’ motions (ECF Nos. 52,

 3   53) are granted.

 4            ACCORDINGLY, IT IS HEREBY ORDERED:

 5            The United States is permitted to disclose the following tracking warrants,

 6   location records information warrants and search warrants that are all currently

 7   sealed by the Court (hereinafter “Protective Discovery”) to counsel for

 8   Defendants’ pursuant to its discovery obligations:

 9                                               Warrants

10            4:17-mj-07022-JTR, 4:17-mj-07026-JTR, 4:17-mj-07063-JTR,

11            1:17-mj-04112-JTR, 2:17-mj-00301-JTR, 4:17-mj-07132-JTR,

12            2:17-mj-00328-JTR, 2:17-mj-00329-JTR, 2:17-mj-00330-JTR,

13            2:17-mj-00331-JTR, 2:17-mj-00332-JTR, 2:17-mj-00333-JTR

14            2:17-mj-00334-JTR, 2:17-mj-00335-JTR, 2:17-mj-00336-JTR

15            Such applications, orders and warrants shall otherwise remain sealed by the

16   Court.

17            IT IS FURTHER ORDERED that:

18            1.    The United States will provide discovery materials (including

19   Protective Discovery) on an on-going basis to defense counsel;

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 1           2.    Defense counsel may possess but not copy (excluding the production

 2   of necessary working copies) the discovery materials, including sealed documents;

 3           3.    Defense counsel may show to, and discuss with the Defendant the

 4   discovery material, including sealed documents;

 5           4.    Defense counsel shall not provide original or copies of discovery

 6   materials directly to the Defendant;

 7           5.    Defense counsel shall not otherwise provide original or copies of the

 8   discovery material to any other person, including subsequently appointed or

 9   retained defense counsel, but excluding any staff of defense counsel or investigator

10   and/or expert engaged by defense counsel, who will also be bound by the terms

11   and conditions of the protective order;

12           6.    The United States and defense counsel may reference the existence

13   and content of sealed discovery material in open and closed court proceedings

14   relevant to this cause. Any reference to the content of the Protected Discovery

15   shall be filed under seal, until further order of the Court.

16           7.    The parties may seek relief from this Order for good cause shown.

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 1         The District Court Executive is hereby directed to enter this Order and

 2   furnish copies to counsel.

 3         DATED August 16, 2017.

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 5                                   THOMAS O. RICE
                              Chief United States District Judge
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